                        UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA
               Plaintiff,

       v.                                            Case No. 13-CR-090

VERONICA VARGAS
              Defendant.


                                         ORDER

       The Marshals Service having advised the court that the USM # in defendant’s judgment

is incorrect,

       IT IS ORDERED that an amended judgment issue pursuant to Fed. R. Crim. P. 36

correcting the USM # to “12230-089.”

       Dated at Milwaukee, Wisconsin, this 13th day of January, 2014.


                                                s/ Lynn Adelman
                                                LYNN ADELMAN
                                                District Judge




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